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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




UNITED STATES OF AMERICA,                   )
                                            )
             Plaintiff,                     )
                                            )              CRIMINAL ACTION NO.
VS.                                         )
                                            )              3:07-CR-331(06)-G
JUAN MARTIN LOPEZ,                          )
                                            )                   ECF
             Defendant.                     )




          ORDER ACCEPTING REPORT AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE
                   CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the defendant, and the Report and

Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,

and no objections thereto having been filed within ten days of service in accordance

with 28 U.S.C. § 636(b)(1), the undersigned district judge is of the opinion that the

Report and Recommendation of the magistrate judge concerning the plea of guilty is

correct, and it is hereby accepted by the court. Accordingly, the court ACCEPTS the
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plea of guilty, and defendant is hereby adjudged guilty. Sentence will be imposed in

accordance with the court’s scheduling order.

      SO ORDERED.


May 28, 2008.


                                       ___________________________________
                                       A. JOE FISH
                                       Senior United States District Judge




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